                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-01129

ERIC COOMER, PhD.,

      Plaintiff

v.

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

      Defendants


                                 EXHIBIT 2
9/14/23, 11:50 AM                                                       VIDEO Released of Mike Lindell Blasting Attorney for Calling His Pillow "Lumpy" During Deposition: "You're An A**hole!"




         VIDEO Released of Mike Lindell Blasting
         Attorney for Calling His Pillow "Lumpy"
         During Deposition: "You're An A**hole!"
         Video of Mike Lindell in a recent deposition was released from his lawfare case brought on by Eric Coomer, the former Dominion VP. The post
         VIDEO Released of Mike Lindell Blasting Attorney for Calling His Pillow "Lumpy" During Deposition: "You're An A**hole!" appeared first on The
         Gateway Pundit.



                     - The Gateway Pundit                                                                                                                                                         Share




         Video of Mike Lindell in a recent deposition was released from his lawfare case brought on by Eric Coomer, the former Dominion VP.


         Coomer sued several conservatives after his reported comments made before the 2020 election about stealing the election were reported
         following the election.


         Mike Lindell was one of those who was sued.


         Coomer has a tattoo on his arm by an artist listed as number one by the church of Satan.


         Coomer, in his deposition said, "F*ck the USA". He also admitted to being a skinhead and heroin addict.


         This week, a video of Coomer's attorneys insulting Mike Lindell during his deposition in the BS case was released.


         In one section of the interview, the nasty attorney representing Coomer insulted Mike Lindell, claiming that he has lumpy pillows.


         Mike Lindell is the founder of "My Pillow" sold here at The Gateway Pundit -


         This got under Mike's skin, and he unloaded.

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         Lindell replied:


         See the exchange below:
         Many of our readers have asked how they can help Mike Lindell recover from this massive
         loss to his business. The best way to help Mike is to purchase his products directly at
         MyPillow.com or call to ORDER NOW: 1-800-544-8939
         Now, Gateway Pundit's discount page at MyPillow.com/tgp has been updated with new
         deals!
         When you go there and put "TGP" in the promo code box, you'll get lots of discounts plus,
         Gateway Pundit will benefit.
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         on The Gateway Pundit.



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         Adorned with the Queen Anne-era of grand architecture and tightly guarded by Secret Service agents, the 9,000-square foot vice president's
         mansion on the U.S. Naval Observatory grounds is rarely accessible to everyday Americans. But Hunter Biden – as the son of a sitting vice
         president – was able to score the sort of VIP meeting […]


         The post Hunter Biden Meeting With Associates At VP Mansion Highlights Role Father Played Scoring Clients appeared first on Populist Press
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         Woke Beauty Brand Hires Morbidly Obese BLM                                   IT’S BACK! Providence Hospital System                                  Member of Anti-Catholic Sisters of Perpetual
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